Case 2:16-cv-00587-GMN-NJK Document1 Filed 03/16/16 Page 1 of 27

UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEVADA
REGINA H. FLORENCE, : Civil Action No:
Plaintiff,
v. * COMPLAINT FOR DAMAGES
CENLAR FEDERALSAVINGS&  : PURSUANT TO THE FAIR
‘ CREDIT REPORTING ACT, 15
LOAN: SELECT PORTFOLIO : USC 8 1681, ET SE
SERVICING, INC. SHELLPOINT : ~~” Q.
MORTGAGE SERVICING;
EXPERIAN INFORMATION , JURY TRIAL DEMANDED
SOLUTIONS, INC,
Defendants. :
INTRODUCTION

1. The United States Congress has found the banking system is dependent upon
fair and accurate credit reporting. Inaccurate credit reports directly impair
the efficiency of the banking system, and unfair credit reporting methods
undermine the public confidence, which is essential to the continued
functioning of the banking system. Congress enacted the Fair Credit
Reporting Act, 15 U.S.C. § 1681 et seg. (“FCRA”), to insure fair and
accurate reporting, promote efficiency in the banking system, and protect
consumer privacy. The FCRA seeks to ensure consumer reporting agencies
exercise their grave responsibilities with fairness, impartiality, and a respect
for the consumer’s right to privacy because consumer reporting agencies

have assumed such a vital role in assembling and evaluating consumer credit
Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 2 of 27

and other information on consumers. The FCRA also imposes duties on the
sources that provide credit information to credit reporting agencies, called
“furnishers.”

. REGINA H. FLORENCE (“Plaintiff”), by Plaintiff's attorneys, brings this
action to challenge the actions of CENLAR FEDERAL SAVINGS &
LOAN (“Cenlar”), SELECT PORTFOLIO SERVICING, INC. (“SPS”),
SHELLPOINT MORTGAGE SERVICING (“Shellpoint”), and
EXPERIAN INFORMATION SOLUTIONS, INC. (“Experian”) (or jointly
as “Defendants”) with regard to erroneously reporting derogatory credit
information to national reporting agencies.

_ Defendants failed to properly investigate Plaintiff's disputes, damaging
Plaintiffs creditworthiness.

JURISDICTION AND VENUE

This Court has federal question jurisdiction because this case arises out of
violation of federal law. 15 U.S.C. §1681 et seq.; 28 U.S.C. §1331; Smith v.
Community Lending, Inc., 773 F.Supp.2d 941, 946 (D. Nev. 2011).

This action arises out of each Defendant’s violations of the Fair Credit
Reporting Act, 15 U.S.C. §§ 1681-1681(x) (“FCRA”).

Venue is proper in the United States District Court for the District of Nevada

pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark
10.

11.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 3 of 27

County, the State of Nevada and because Defendants are subject to personal
jurisdiction in the County of Clark, State of Nevada as they conduct business
there. Venue is also proper because, the conduct giving rise to this action
occurred in Nevada. 28 U.S.C. § 1391(b)(2). Further, Equifax has a
registered agent of service in Nevada and is listed with the Nevada Secretary
of State as a foreign limited liability company doing business in Nevada.

PARTIES

Plaintiff is a natural person residing in the County of Clark, State of Nevada.
In addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
1681a(c).

Defendant Cenlar is a corporation doing business in the State of Nevada.
Defendant Cenlar is a furnisher of information as contemplated by 15 U.S.C.
§ 1681s-2(b) that regularly and in the ordinary course of business furnishes
information to a consumer credit reporting agency.

Defendant SPS is a corporation doing business in the State of Nevada.
Defendant SPS is a furnisher of information as contemplated by 15 U.S.C. §
1681s-2(b) that regularly and in the ordinary course of business furnishes

information to a consumer credit reporting agency.

12.Defendant Shellpoint is a corporation doing business in the State of Nevada.
13.

14.

15.

16.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 4 of 27

Defendant Shellpoint is a furnisher of information as contemplated by 15
U.S.C. § 1681s-2(b) that regularly and in the ordinary course of business
furnishes information to a consumer credit reporting agency.

Defendant Experian regularly assembles and/or evaluates consumer credit
information for the purpose of furnishing consumer reports to third parties,
and uses interstate commerce to prepare and/or furnish the reports. Experian
is a “consumer reporting agency” as that term is defined by 15 U.S.C. §
1681a(f), doing business in Nevada, with a principal place of business in
Ohio.

Unless otherwise indicated, the use of Defendants’ name in this Complaint
includes all agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives,
and insurers of Defendants’ named.

GENERAL ALLEGATIONS
On or about 3/27/2012, Plaintiff filed for Chapter 13 Bankruptcy in the

United States Bankruptcy Court for the District of Nevada pursuant to 11
U.S.C. §1301 et seq. Plaintiff's case was assigned Case Number 12-13518-

mn (the “Chapter 13” or “Bankruptcy”).
17.

18.

19.

20.

21.

22.

23.

24.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 5 of 27

The obligations (“Debt”) to each Defendant herein (as applicable) were
scheduled in the Bankruptcy and each respective creditor-Defendant, or its
predecessor in interest, received notice of the Bankruptcy.

The Bankruptcy Court confirmed Plaintiff's 100% Chapter 13 Plan.

Plaintiff made all payments required under the terms of the Confirmed
Chapter 13 plan.

None of the Defendants named herein filed any proceedings to declare their
alleged debts “non-dischargeable” pursuant to 11 U.S.C. § 523 et seq.

None of the Defendants named herein obtained relief from the “automatic
stay” codified at 11 U.S.C. §362 et seq. while the Plaintiff's Bankruptcy was
pending to pursue the Plaintiff for any personal liability.

Accordingly, the debts to each Defendant named herein (as applicable) were
discharged through the Bankruptcy on 1/24/2014.

Further, while the automatic stay was in effect during the Bankruptcy, it was
illegal and inaccurate for any of the creditor-defendants to report any post-
Bankruptcy derogatory collection information, which was inconsistent with
the Orders entered by the Bankruptcy Court.

However, Defendants named herein, and each of them, either reported or
caused to be reported inaccurate information after the Bankruptcy as

discussed herein.
25.

26.

27.

28.

Case 2:16-cv-00587-GMN-NJK Document1 Filed 03/16/16 Page 6 of 27

Defendant’s reporting post-Bankruptcy derogatory information was
inaccurate and misleading in that each Defendant continued reporting
information based on Defendant’s pre-bankruptcy contract terms with the
Plaintiff, which were no longer enforceable upon the bankruptcy filing,
thereby rendering the disputed information “inaccurate”.

The adverse information reported by Defendants was based on each
Defendant’s improper enforcement and reporting of pre-bankruptcy
obligations, where such reporting failed to comply with the payment
structure set forth in the Plaintiff's Chapter 13 Plan. Failing to report
consistent with the terms of the Chapter 13 plan was therefore inaccurate,
since all the Plaintiff's pre-bankruptcy creditors (whether eventually
discharged or not) were subject to repayment pursuant to the Chapter 13
plan terms while the Bankruptcy was pending.

Additionally, Defendant’s inaccurate reporting did not comply with the
Consumer Data Industry Association’s Metro 2 reporting standards, which
provides guidance for credit reporting and FCRA compliance.

To help furnishers comply with their requirements under the FCRA, the
Consumer Data Industry Association (“CDIA”) publishes standard

guidelines for reporting data called the “Metro 2 Format.”
29.

30.

31.

32.

33.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 7 of 27

The Metro 2 Format guidelines for credit reporting are nearly identical for
reports made during the “Months Between Petition Filed and BK
Resolution” and after “Plan Completed” for Chapter 13 Debtors and
furnishers who choose to report post-bankruptcy credit information to
CRAs. See CDIA Credit Reporting Resource Guide, page 6-20, 21.

Notably, the payment history and account status guidelines are the same,
meaning that the “payment history” and “account status” should be reported
the same way both during and after a bankruptcy proceeding. /d.

The only difference in reporting a pre-discharged debt and a discharged debt
is to delete the balance (or report a balance of $0). Id.

Indeed, the guidelines direct furnishers to report an account status as it
existed at the time the bankruptcy petition was filed and not the account
status as it would have existed in the months following the filing of the
petition if the petition had not been filed. Id.

Courts rely on such guidance to determine furnisher liability. See e.g. In re
Helmes, 336 B.R. 105, 107 (Bankr. E.D. Va. 2005) (finding that "industry
standards require that a debt discharged in bankruptcy be reported to a credit
reporting agency with the notation “Discharged in bankruptcy’ and with a

zero balance due”).
34.

35.

36.

Case 2:16-cv-00587-GMN-NJK Document1 Filed 03/16/16 Page 8 of 27

Defendants did not conform to the Metro 2 Format when reporting on
Plaintiff's accounts after the Plaintiff filed Bankruptcy as further set forth
below. To this end, the adverse reporting on the Plaintiff's report departs
from the credit industry’s own reporting standards and was therefore

inaccurate under the CDIA’s standards as well.

THE EXPERIAN VIOLATIONS

Cenlar Misreported Credit Information

RE: Account No. ...2783*

In an Experian credit report dated September 30, 2015, Cenlar reported that
Plaintiff was late making payments. See a true and correct redacted copy
attached hereto as “Exhibit 1”. Specifically, Cenlar reported that the
account was 180 days past due every month from March 2012 through
December 2012. Jd. This was inaccurate, since the Plaintiff performed all
obligations required under the Chapter 13 Plan and obtained a discharge.
Moreover, Cenlar was paid according to the Chapter 13 Plan by the Chapter
13 Trustee and it was inaccurate for Cenlar to report that the Plaintiff was
“past due” after the Chapter 13 filing, since the Plaintiff fully performed
under the Chapter 13.

Additionally, since the asset underlying Cenlar’s Debt was surrendered in

the Chapter 13, the Plaintiffs obligation to repay this debt was
Case 2:16-cv-00587-GMN-NJK Document1 Filed 03/16/16 Page 9 of 27

unenforceable. Therefore, reporting that the Plaintiff was “late” in paying an
unenforceable obligation was clearly inaccurate in-itself.

37. On or about November 9, 2015, pursuant to 15 U.S.C. § 1681i(a)(2),
Plaintiff disputed Cenlar’s reported information regarding its reported
obligation by notifying Experian, in writing, of the incorrect and inaccurate
credit information furnished by Cenlar. /d.

38. Specifically, Plaintiff sent a letter, certified, return receipt, to Experian (the
“Experian Dispute Letter”), requesting the above inaccurate and incorrect

derogatory information be removed as follows:

 

Furnisher Name/Address: Cenlar Federal Savings & Loan
425 Phillips Blvd
Ewing, NJ 08618

 

Furnisher Acct. No.: ...2783....

 

 

Consumer Dispute:

e This account was discharged in my Bankruptcy which
was filed on 3/27/2012 and discharged 1/24/2014,
bearing docket No. 12-13518-mn in the District for
Nevada. There should be no derogatory reporting after
the filing date. Specifically, please remove the
derogatory information for the following post-
bankruptcy dates: Apr2012 - Dec2012 (180 days past
due).

 

 

 

39. Upon receiving the Experian Dispute Letter, Experian timely notified Cenlar
of the dispute based on its mandated statutory duty pursuant to 15 U.SC. §
1681i.

40. Defendants were each required to conduct an investigation into this specific

account on Plaintiff's consumer report pursuant to 15 U.S.C. §16811.
41.

42.

43.

44.

45.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 10 of 27

On or about November 26, 2015, Plaintiff received notification from
Experian through its “reinvestigation” (Experian Report No. 1212-6902-01)
that Cenlar and Experian received notice of Plaintiff's dispute pursuant to 15
U.SC. § 1681i(a)(6). See a true and correct redacted copy attached hereto as
“Exhibit 2”.

A reasonable investigation by these Defendants would have indicated that
Plaintiff filed for Chapter 13 bankruptcy and made all required Chapter 13
plan payments, since Plaintiff obtained a discharge.

Cenlar and Experian failed to conduct a reasonable investigation as required
by 15 U.SC. § 1681s-2(b)(1)(A) and wrongly verified inaccurate information
in connection with Plaintiff's credit reports. /d.

Cenlar and Experian failed to review all relevant information provided by
Plaintiff in the dispute to Experian, as required by and in violation of 15
U.S.C. § 1681s-2(b)(1)(B).

Cenlar and Experian re-reported the inaccurate derogatory information on
Plaintiff's report. Specifically, Cenlar and Experian still reported that the
account was 180 days past due every month from March 2012 through

December 2012.

10
Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 11 of 27

46. Cenlar and Experian, upon receipt of Plaintiff's dispute, failed to conduct an

47.

48.

49,

50.

investigation with respect to the disputed information as required by 15
U.SC. § 1681s-2(b)(1)(A).

Due to Cenlar’s and Experian’s failure to reasonably investigate Plaintiff's
dispute, they each further failed to correct and update Plaintiff's information
as required by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing continued
reporting of inaccurate information in violation of 15 U.S.C. § 1681-
s(2)(b))(C).

Plaintiff's continued efforts to correct Cenlar’s and Experian’s erroneous
and negative reporting of the discharged debt by communicating Plaintiff's
dispute with Cenlar and Experian were fruitless.

Cenlar’s and Experian’s continued inaccurate and negative reporting of the
discharged debt in light of its knowledge of the actual error was willful.
Plaintiff is, accordingly, eligible for statutory damages.

Also as a result of Cenlar’s and Experian’ continued inaccurate and negative
reporting, Plaintiff has suffered actual damages, including without limitation
credit denials, out-of-pocket expenses in challenging the Defendants’
wrongful representations, damage to his creditworthiness, and emotional

distress.

11
51.

Case 2:16-cv-00587-GMN-NJK Document1 Filed 03/16/16 Page 12 of 27

By inaccurately reporting account information relating to the discharged
debt after notice and confirmation of its errors, Cenlar and Experian failed to
take the appropriate measures as required under 15 U.S.C. §§ 1681-
s(2)(b)(1)(D) and (E).

SPS Misreported Credit Information

RE: Account No. ...1288

52.In an Experian credit report dated September 30, 2015, SPS inaccurately

53.

54.

reported that the Plaintiff still owed an outstanding balance of $305,876
even though SPS’s debt was discharged in the Bankruptcy. See “Exhibit
1”. It was therefore inaccurate for SPS to report a balance any greater than
$0.

SPS also inaccurately reported that the Plaintiff was “past due” in the
amount of $12,366. Since Plaintiff discharged SPS’s debt, there was a $0
balance due at the time SPS reported the past due balance. Accordingly,
reporting the past-due balance was inaccurate resulting from the Bankruptcy
discharge.

SPS also reported an account “status” of “Chapter 13 Bankruptcy dismissed.
$12,366 past due as of Sep 2012”. This was inaccurate, since the Plaintiff
performed all obligations required under the Chapter 13 Plan and obtained a

discharge. Moreover, SPS was paid according to the Chapter 13 Plan by the

12
55.

56.

57.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 13 of 27

Chapter 13 Trustee and it was inaccurate for SPS to report that the account
status was “Chapter 13 Bankruptcy dismissed. $12,366 past due as of Sep
2012” after the Chapter 13 filing, since the Plaintiff fully performed under
her Chapter 13.

Additionally, since the asset underlying SPS’s Debt was surrendered in the
Chapter 13, the Plaintiffs obligation to repay this debt was unenforceable.
Therefore, reporting that the Plaintiff was “late” in paying an unenforceable
obligation was clearly inaccurate in-itself.

On or about November 9, 2015, pursuant to 15 U.S.C. § 1681i(a)(2),
Plaintiff disputed SPS’s reported information regarding its reported
obligation by notifying Experian, in writing, of the incorrect and inaccurate
credit information furnished by SPS. Jd.

Specifically, Plaintiff sent a letter, certified, return receipt, to Experian (the
“Experian Dispute Letter”), requesting the above inaccurate and incorrect

derogatory information be removed as follows:

 

Furnisher Name/Address: Select Portfolio Servicing

3815 S West Temple Ste 2000
Salt Lake City, UT 84115

 

Furnisher Acct. No.: .. 1288...

 

 

Consumer Dispute:

¢ This account was discharged in my Bankruptcy which
was filed on 3/27/2012 and discharged 1/24/2014,
bearing docket No. 12-13518-mn in the District for
Nevada. The balance on this account should be “$0” and
the status should be reporting as “current”. Specifically,
you show the Recent balance: $305,876 as of Sep 2012

 

 

 

13
Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 14 of 27

 

 

and the Status: Chapter 13 Bankruptcy Dismissed.
$12,366 past due as of Sep 2012.

 

 

 

58.

59.

60.

61.

62.

Upon receiving the Experian Dispute Letter, Experian timely notified SPS of
the dispute based on its mandated statutory duty pursuant to 15 U.SC. §
1681i.

Defendants were each required to conduct an investigation into this specific
account on Plaintiff's consumer report pursuant to 15 U.S.C. §1681i.

On or about November 26, 2015, Plaintiff received notification from
Experian through its “reinvestigation” (Experian Report No. 1212-6902-01)
that SPS and Experian received notice of Plaintiffs dispute pursuant to 15
U.SC. § 1681i(a)(6), and reported the account as “Remains”. See “Exhibit
2”.

A reasonable investigation by these Defendants would have indicated that
Plaintiff filed for Chapter 13 bankruptcy and made all required Chapter 13
plan payments, since Plaintiff obtained a discharge.

SPS and Experian failed to conduct a reasonable investigation as required by
15 U.SC. § 1681s-2(b)(1)(A) and wrongly verified inaccurate information in

connection with Plaintiff's credit reports. /d.

14
63.

64.

65.

66.

67.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 15 of 27

SPS and Experian failed to review all relevant information provided by
Plaintiff in the dispute to Experian, as required by and in violation of 15
U.S.C. § 1681s-2(b)(1)(B).

SPS and Experian reported inaccurate derogatory information on Plaintiff's
report. Specifically, SPS and Experian inaccurately reported that the
account was 180 days past due in September 2012, and this was inaccurate
since the Plaintiff performed all obligations required under the Chapter 13
Plan and obtained a discharge.

SPS and Experian, upon receipt of Plaintiffs dispute, failed to conduct an
investigation with respect to the disputed information as required by 15
U.SC. § 1681s-2(b)(1)(A).

Due to SPS’s and Experian’s failure to reasonably investigate Plaintiffs
dispute, they each further failed to correct and update Plaintiff's information
as required by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing continued
reporting of inaccurate information in violation of 15 U.S.C. § 1681-
s(2)(b)(1)(C).

Plaintiffs continued efforts to correct SPS’s and Experian’s erroneous and
negative reporting of the discharged debt by communicating Plaintiff's

dispute with SPS and Experian were fruitless.

15
68.

69.

70.

71.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 16 of 27

SPS’s and Experian’s continued inaccurate and negative reporting of the
discharged debt in light of its knowledge of the actual error was willful.
Plaintiff is, accordingly, eligible for statutory damages.
Also as a result of SPS’s and Experian’ continued inaccurate and negative
reporting, Plaintiff has suffered actual damages, including without limitation
credit denials, out-of-pocket expenses in challenging the Defendants’
wrongful representations, damage to his creditworthiness, and emotional
distress.
By inaccurately reporting account information relating to the discharged
debt after notice and confirmation of its errors, SPS and Experian failed to
take the appropriate measures as required under 15 U.S.C. §§ 1681-
s(2)(b)(1)(D) and (E).

Shellpoint Misreported Credit Information

RE: Account No. ...1539...

In an Experian credit report dated September 30, 2015, Shellpoint
inaccurately reported that the Plaintiff still owed an outstanding balance of
$731,619 even though Shellpoint’s debt was discharged in the Bankruptcy.
See “Exhibit 1”. It was therefore inaccurate for Shellpoint to report a

balance any greater than $0.

16
72.

73.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 17 of 27

Shellpoint also reported inaccurate notations on Plaintiff's credit report.
Specifically, Shellpoint inaccurately noted that Plaintiff was 180 days past
due every month from March 2014 through June 2014. This was inaccurate
because the debt owed to Shellpoint was discharged at that time.
Furthermore, Shellpoint noted that foreclosure proceedings started every
month from July 2014 through June 2015 and in the month of August 2015.

Also, Shellpoint inaccurately reported balances from March 2014 through
June 2015. Since Plaintiff discharged Shellpoint’s debt, there was a $0
balance due any time after the discharge date of 1/24/2014 and reporting the

past-due balance was inaccurate resulting from the Bankruptcy discharge.

74. Shellpoint also reported an account “status” of “Foreclosure proceedings

75.

76.

started. $358,078 past due as of Aug 2015”. This was inaccurate, since the
Plaintiff performed all obligations required under the Chapter 13 Plan and
obtained a discharge.

Additionally, since the asset underlying Shellpoint’s Debt was surrendered
in the Chapter 13, the Plaintiffs obligation to repay this debt was
unenforceable. Therefore, reporting the above disputed information was

clearly inaccurate in-itself.
On or about November 9, 2015, pursuant to 15 U.S.C. § 1681i(a)(2),

Plaintiff disputed Shellpoint’s reported information regarding its reported

17
Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 18 of 27

obligation by notifying Experian, in writing, of the incorrect and inaccurate
credit information furnished by Shellpoint. /d.

77. Specifically, Plaintiff sent a letter, certified, return receipt, to Experian (the
“Experian Dispute Letter”), requesting the above inaccurate and incorrect

derogatory information be removed as follows:

 

Furnisher Name/Address: Shellpoint Mortgage Serv
55 Beattie Pl Ste 110
Greenville, SC 29601

 

Furnisher Acct. No.: » 1539...

 

 

Consumer Dispute:

e This account was discharged in my Bankruptcy which
was filed on 3/27/2012 and discharged 1/24/2014,
bearing docket No. 12-13518-mn in the District for
Nevada. There should be no derogatory reporting after
the filing date. Specifically, please remove the
derogatory information for the following post-
bankruptcy dates: Mar2014 - Jun2014 (180 days past
due) and Jul2014 - Jun2015 (FS - Foreclosure
proceedings started) and Aug2015 (FS - Foreclosure
proceedings started).

e This account was discharged in my Bankruptcy which
was filed on 3/27/2012 and discharged 1/24/2014,
bearing docket No. 12-13518-mn in the District for
Nevada. The balance on this account should be “$0” and
the status should be reporting as “current”. Specifically,
you show a Recent balance of $731,619 as of Aug 2015
and the Status: Foreclosure proceedings started.
$385,078 past due as of Aug 2015. Also, in the Account
history you show Account Balances from Mar14 - Jun15.

 

 

 

78. Upon receiving the Experian Dispute Letter, Experian timely notified
Shellpoint of the dispute based on its mandated statutory duty pursuant to 15

USC. § 16811.

18
79,

80.

81.

82.

83.

84.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 19 of 27

Defendants were each required to conduct an investigation into this specific
account on Plaintiffs consumer report pursuant to 15 U.S.C. §1681i.

On or about November 26, 2015, Plaintiff received notification from
Experian through its “reinvestigation” (Experian Report No. 1212-6902-01)
that Shellpoint and Experian received notice of Plaintiffs dispute pursuant
to 15 U.SC. § 1681i(a)(6), and reported the account as “Remains”. See
“Exhibit 2”.

A reasonable investigation by these Defendants would have indicated that
Plaintiff filed for Chapter 13 bankruptcy and made all required Chapter 13
plan payments, since Plaintiff obtained a discharge.

Shellpoint and Experian failed to conduct a reasonable investigation as
required by 15 U.SC. § 1681s-2(b)(1)(A) and wrongly verified inaccurate
information in connection with Plaintiff’s credit reports. /d.

Shellpoint and Experian failed to review all relevant information provided
by Plaintiff in the dispute to Experian, as required by and in violation of 15
U.S.C. § 1681s-2(b)(1)(B).

Shellpoint and Experian re-reported the inaccurate derogatory information
on Plaintiff's report. Specifically, Shellpoint and Experian still inaccurately

reported balances from March 2014 through September 2015, and since

19
85.

86.

87.

88.

89,

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 20 of 27

Plaintiff discharged Shellpoint’s debt, there was a $0 balance due any time
after the discharge date of 1/24/2014.

Shellpoint and Experian, upon receipt of Plaintiff's dispute, failed to conduct
an investigation with respect to the disputed information as required by 15
U.SC. § 1681s-2(b)(1)(A).

Due to Shellpoint’s and Experian’s failure to reasonably investigate
Plaintiff's dispute, they each further failed to correct and update Plaintiff's
information as required by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing
continued reporting of inaccurate information in violation of 15 U.S.C. §
1681-s(2)(b)(1)(C).

Plaintiffs continued efforts to correct Shellpoint’s and Experian’s erroneous
and negative reporting of the discharged debt by communicating Plaintiff's
dispute with Shellpoint and Experian were fruitless.

Shellpoint’s and Experian’s continued inaccurate and negative reporting of
the discharged debt in light of its knowledge of the actual error was willful.
Plaintiff is, accordingly, eligible for statutory damages.

Also as a result of Shellpoint’s and Experian’ continued inaccurate and
negative reporting, Plaintiff has suffered actual damages, including without

limitation credit denials, out-of-pocket expenses in challenging the

20
90.

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 21 of 27

Defendants’ wrongful representations, damage to his creditworthiness, and
emotional distress.
By inaccurately reporting account information relating to the discharged
debt after notice and confirmation of its errors, Shellpoint and Experian
failed to take the appropriate measures as required under 15 U.S.C. §§ 1681-
s(2)(b)(1)(D) and (E).

Experian Incorrectly Reported a Judgement

RE: Docket No. ...A671037

91.In an Experian credit report dated September 30, 2015, Experian reported

92.

that a Judgement was entered against Plaintiff in the amount of $306,724 by
Wells Fargo Bank, NA. See “Exhibit 1”. This judgement was obtained after
the Plaintiff filed for Bankruptcy and without court permission. Furthermore,
the debt owed to Wells Fargo Bank NA was discharged through Plaintiff's
Bankruptcy.

On or about November 9, 2015, pursuant to 15 U.S.C. § 1681i(a)(2),
Plaintiff disputed Experian’s reported information regarding its reported
obligation by notifying Experian, in writing, of the incorrect and inaccurate

credit information furnished by Experian. /d.

21
Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 22 of 27

93. Specifically, Plaintiff sent a letter, certified, return receipt, to Experian (the

“Experian Dispute Letter”), requesting the above inaccurate and incorrect

derogatory information be removed as follows:

 

JUDGMENT INFORMATION and REQUESTED ACTION

 

 

 

 

 

 

 

Court: Clark Co District Ct
Docket No.: A671037

Date filed: 04/01/2013

Plaintiff: Wells Fargo Bank NA
Amount: $306,724

Requested Action:

This Judgment was obtained after my bankruptcy was filed. It was
therefore in violation of the automatic stay to obtain this judgment
without first obtaining court permission. Since there was no court
permission obtained (or any basis for obtaining same), your report of
a judgment should be removed immediately. Further, you must also
report that this debt was discharged in bankruptcy.”

 

94. Upon receiving the Experian Dispute Letter, Experian was required to

conduct an investigation into this specific account on Plaintiff's consumer

report pursuant to 15 U.S.C. §1681i.

95. On or about November 26, 2015, Plaintiff received notification from

Experian through its “reinvestigation” (Experian Report No. 1212-6902-01)

that Experian received notice of Plaintiff's dispute pursuant to 15 U.SC. §

1681i(a)(6). See “Exhibit 2”.

96. A reasonable investigation by Experian would have indicated that Plaintiff

filed for Chapter 13 bankruptcy and made all required Chapter 13 plan

payments, since Plaintiff obtained a discharge.

22

 
Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 23 of 27

97. Experian failed to conduct a reasonable investigation as required by 15
U.SC. § 1681s-2(b)(1)(A) and wrongly verified inaccurate information in
connection with Plaintiff’s credit reports. Id.

98. Experian failed to review all relevant information provided by Plaintiff in
the dispute to Experian, as required by and in violation of 15 U.S.C. §
1681s-2(b)(1)(B).

99. Notwithstanding Experian’s obligation to report this Debt was discharged
and unenforceable, Experian re-reported the judgment information on
Plaintiff's report. Specifically, Experian still inaccurately reported an
outstanding judgement by Wells Fargo Bank, NA against Plaintiff in the
amount of $306,724 and failed to note the debt was discharged in
Bankruptcy or disputed by the Plaintiff.

100. Experian, upon receipt of Plaintiff's dispute, failed to conduct an
investigation with respect to the disputed information as required by 15
U.SC. § 1681s-2(b)(1)(A).

101. Due to Experian’s failure to reasonably investigate Plaintiffs dispute,
they further failed to correct and update Plaintiff's information as required
by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing continued reporting of

inaccurate information in violation of 15 U.S.C. § 1681-s(2)(b)(1)(C).

23
Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 24 of 27

102. Plaintiff's continued efforts to correct Experian’s erroneous and

negative reporting of the discharged debt by communicating Plaintiff's
_ dispute with Experian were fruitless.

103. Experian’s continued inaccurate and negative reporting of the
discharged debt in light of its knowledge of the actual error was willful.
Plaintiff is, accordingly, eligible for statutory damages.

104. Also as a result of Experian’s continued inaccurate and negative
reporting, Plaintiff has suffered actual damages, including without limitation
credit denials, out-of-pocket expenses in challenging the Defendants’
wrongful representations, damage to his creditworthiness, and emotional
distress.

105. By inaccurately reporting account information relating to the
discharged debt after notice and confirmation of its errors, Experian failed to
take the appropriate measures as required under 15 U.S.C. §§ 1681-
s(2)(b)(1)(D) and (E).

FIRST CAUSE OF ACTION
VIOLATION OF THE FAIR CREDIT REPORTING ACT
15 U.S.C. § 1681 ET SEQ. (FCRA)
106. Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

24
Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 25 of 27

107. The foregoing acts and omissions constitute numerous and multiple
willful, reckless or negligent violations of the FCRA, including but not
limited to each and every one of the above-cited provisions of the FCRA, 15
U.S.C. §1681.

108. As a result of each and every willful violation of the FCRA, Plaintiff
is entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
1681n(a)(1); statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
punitive damages as the Court may allow pursuant to 15 U.S.C. §
1681n(a)(2); and reasonable attorney’s fees and costs pursuant to 15 U.S.C.
§ 1681n(a)(3) from Defendants.

109. As a result of each and every negligent noncompliance of the FCRA,
Plaintiff is entitled to actual damages as the Court may allow pursuant to 15
U.S.C. § 16810(a)(1); and reasonable attorney’s fees and costs pursuant to
15 U.S.C. § 16810(a)(2) from Defendants.

PRAYER FOR RELIEF
Plaintiff respectfully requests the Court grant Plaintiff the following relief
against Defendants:
FIRST CAUSE OF ACTION
VIOLATION OF THE FAIR CREDIT REPORTING ACT

15 U.S.C. § 1681 ET SEQ. (FCRA)

e an award of actual damages pursuant to 15 U.S.C. § 1681n(a)(1);

25
Ml
Ml
iil
iff
Mf
Mf

Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 26 of 27

e award of statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);

e an award of punitive damages as the Court may allow pursuant to 15
U.S.C. § 1681n(a)(2);

e award of costs of litigation and reasonable attorney’s fees, pursuant to 15
U.S.C. § 1681n(a)(3), and 15 U.S.C. § 1681(0)(a)(1) against Defendant
for each incident of negligent noncompliance of the FCRA; and

e any other relief the Court may deem just and proper.

26
Case 2:16-cv-00587-GMN-NJK Document 1 Filed 03/16/16 Page 27 of 27

TRIAL BY JURY

110. Pursuant to the seventh amendment to the Constitution of the United

States of America, Plaintiff is entitled to, and demands, a trial by jury.

Dated: March 16, 2016

Respectfully submitted,

By: /s/ David H. Krieger, Esq.

David H. Krieger, Esq.

Nevada Bar No. 9086

HAINES & KRIEGER, LLC

8985 S. Eastern Ave., Suite 350
Henderson, NV 89123

Phone: (702) 880-5554

FAX: (702) 385-5518

Email: dkrieger@hainesandkrieger.com

Attorney for Plaintiff

27
